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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al.,

                  Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

               Defendant.
   ______________________________________________________________________________

                             NOTICE OF JURY VERDICT
   ______________________________________________________________________________

          Plaintiffs hereby provide notice of a jury verdict entered on December 19, 2019 in Sony

   Music Entm’t v. Cox Commc’ns Inc., No. 1:18-cv-00950-LO-JFA (E.D. Va.) (the “Cox” case), a

   case involving similar copyright claims by Plaintiffs against a different internet service provider

   (“ISP”), which both Plaintiffs and Defendant have cited in connection with several proceedings

   pending before the Court. See, e.g., Dkt. Nos. 84, 87, 89. The jury in the Cox case found that

   Plaintiffs proved by a preponderance of the evidence that the defendant ISP was contributorily and

   vicariously liable for infringement, that the ISP vicariously or contributorily infringed all of the

   10,017 works for which Plaintiffs asserted claims, and that the ISP’s contributory or vicarious

   infringement was willful by a preponderance of the evidence. The jury awarded statutory damages

   in the amount of $99,830.29 per work, for a total damages award of $1,000,000,000.00. A copy

   of the Verdict Form from the Cox case is attached hereto as Exhibit A.




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   Dated: December 20, 2019          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 20th day of December, 2019, a true and correct copy of the

   foregoing, and all accompanying documentation thereto, was filed with the Clerk of Court and

   served electronically on all parties via the CM/ECF system.

                                                /s/Mitchell A. Kamin
                                                Mitchell A. Kamin




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